              Case 8:22-ap-01002-ES                   Doc 16 Filed 05/30/22 Entered 05/30/22 13:54:44                                      Desc
                                                       Main Document    Page 1 of 4



    Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &       FOR COURT USE ONLY
    Email Address



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       Individual appearing without an attorney
    xx Attorney for: Plaintiffs Angela & George Danciu

                                               UNITED STATES BANKRUPTCY COURT
                                       CENTRAL DISTRICT OF CALIFORNIA -SANTA ANA DIVISION

    In re:                                                                       CASE NO.:8:21-bk-12426-ES
    LEWIS R. O’REILLY                                                            Adv. Case NO. 8:22-01002-ES
                                                                                 CHAPTER: 7
                         Debtor

    __________________________________

    Angela Danciu and George Danciu
                                                                                 NOTICE OF LODGMENT OF ORDER IN
                                   Plaintiffs,                                   BANKRUPTCY CASE RE: (title of motion1):
                                                                                 Motion for Entry of Default Judgment
               vs.

    Lewis R. O’Reilly

                                   Defendant.
                                                                             )


PLEASE TAKE NOTE that the order titled             ORDER Granting Plaintiffs’ Motion for Entry of Default
Judgment
was lodged on 05/30/2022 (date) and is attached. This order relates to the motion which is docket number 13.




1
    Please abbreviate if title cannot fit into text field.

             This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2012                                                         Page 1                        F 9021-1.2.BK.NOTICE.LODGMENT
         Case 8:22-ap-01002-ES                   Doc 16 Filed 05/30/22 Entered 05/30/22 13:54:44                                      Desc
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                                        PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

Voss, Cook & Thel LLP, 2301 Dupont Drive, Suite 500, Irvine, CA 92612

A true and correct copy of the foregoing document entitled: NOTICE OF LODGMENT OF ORDER IN BANKRUPTCY
CASE will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and
(b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
__05/30/2022_________, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and
determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email
addresses stated below:
Karen S Naylor (TR)
alane@ringstadlaw.com, knaylor@IQ7technology.com;ecf.alert+Naylor@titlexi.com

United States Trustee (SA)
ustpregion16.sa.ecf@usdoj.gov

                                                                                           Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) __05/12/2022_______, I served the following persons and/or entities
at the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in
a sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

Lewis R O'Reilly, 3059 Scholarship, Irvine, CA 92612



                                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                           Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 05/30/2022                                 Francis T. Donohue III                             /s/ Francis T. Donohue III
 Date                          Printed Name                                                    Signature



        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2012                                                    Page 2                        F 9021-1.2.BK.NOTICE.LODGMENT
Case 8:22-ap-01002-ES       Doc 16 Filed 05/30/22 Entered 05/30/22 13:54:44               Desc
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      Angela Danciu and George Danciu
  6

  7

  8                         UNITED STATES BANKRUPTCY COURT

  9                          CENTRAL DISTRICT OF CALIFORNIA

 10                                     SANTA ANA DIVISION

 11   In re:                                               )
                                                           )   CASE NO. 8:21-bk-12426-ES
 12   LEWIS R. O’REILLY                                    )
                                                           )   Chapter 7
 13                                                        )
                      Debtor                               )
 14                                                        )   Adv. Case No.8:22-01002-ES
      __________________________________                   )
 15                                                        )
      Angela Danciu and George Danciu                      )   [Proposed] ORDER Granting
 16                                                        )   Plaintiffs’ Motion for Entry of
                             Plaintiffs,                   )   Default Judgment
 17                                                        )
               vs.                                         )   Notice pursuant to LBR 9013-
 18                                                        )
      Lewis R. O’Reilly                                    )   1(b)
 19                                                        )
                             Defendant.                    )
 20                                                        )
                                                           )
 21
               Plaintiffs and creditors Angela Danciu and George Danciu (collectively, the
 22
      “Dancius” or “plaintiffs”) have moved for entry of default judgment against debtor
 23
      and defendant Lewis R. O’Reilly.
 24
               Good cause having been found, IT IS HEREBY ORDERED that:
 25
               1. Plaintiffs’ motion for entry of default judgment against Lewis R. O’Reilly
 26
      is Granted.
 27
               2. A separate judgment will be entered against debtor and defendant Lewis
 28

                                                     -1-
                  [Proposed] ORDER Granting Plaintiffs’ Motion for Entry of Default Judgment
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  1   O’Reilly and in favor of plaintiffs Angela Danciu and George Danciu which shall

  2   find and declare that the claims of Angela Danciu and George Danciu against Lewis

  3   R. O’Reilly for breach of contract (guaranty) and fraud as set forth in the First

  4   Amended Complaint in case Danciu v. O’Reilly, Case Number 30-2020-01146632

  5   pending in the Superior Court of the State of California are non-dischargeable

  6   pursuant 11 U.S.C. § 523(a)(2) and therefore are not discharged in this above

  7   captioned bankruptcy; and the stay on that state court action is hereby lifted so that

  8   plaintiffs may pursue their claims against O’Reilly in the state court action.

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                                                   -2-
                [Proposed] ORDER Granting Plaintiffs’ Motion for Entry of Default Judgment
